Case 2:06-cr-02121-RHW   ECF No. 784   filed 04/27/10   PageID.3759 Page 1 of 5
Case 2:06-cr-02121-RHW   ECF No. 784   filed 04/27/10   PageID.3760 Page 2 of 5
Case 2:06-cr-02121-RHW   ECF No. 784   filed 04/27/10   PageID.3761 Page 3 of 5
Case 2:06-cr-02121-RHW   ECF No. 784   filed 04/27/10   PageID.3762 Page 4 of 5
Case 2:06-cr-02121-RHW   ECF No. 784   filed 04/27/10   PageID.3763 Page 5 of 5
